
929 So.2d 1269 (2006)
Julie HUSSEY, Gerald Hussey Individually and on Behalf of Their Minor Children, Kellie Hussey and Kimberly Hussey
v.
Darlene RUSSELL, Individually, and on Behalf of the Estate of Bryan Vidrine, Bryan Russell, Darlene Russell, Daniel Vidrine, State of Louisiana, Through the Department of Transportation and Development, City-Parish of East Baton Rouge, State Farm Mutual Automobile Insurance Company and U.S. Agencies Casualty Insurance Co., Inc.
Darlene Russell, Individually and on Behalf of Her Minor Son, Bryan Vidrine
v.
State of Louisiana, Through the Department of Transportation and Development, City of Baton Rouge/Parish of East Baton Rouge, Julie E. Hussey, U.S. Agencies Insurance Company, and State Farm Fire &amp; Casualty Insurance Company.
No. 2006-C-0962.
Supreme Court of Louisiana.
June 14, 2006.
Denied.
VICTORY, J., would grant.
TRAYLOR, J., would grant.
